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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                             :      CHAPTER 7
                                                   :
HP/SUPERIOR, INC.                                  :      CASE NO. 14-71797 - PWB
                                                   :
            Debtor.                                :


  MOTION FOR ORDER: (A) AUTHORIZING SETTLEMENT BETWEEN TRUSTEE,
 CSE MORTGAGE, LLC, AND THE CHAPTER 7 TRUSTEE FOR THE BANKRUPTCY
    ESTATE OF SUPERIOR HEALTHCARE INVESTORS, INC. UNDER FEDERAL
    RULES OF BANKRUPTCY PROCEDURE RULE 9019; (B) ESTABLISHING THE
   EXTENT AND PRIORITY OF THE SECURITY INTEREST OF CSE MORTGAGE,
 LLC IN ACCORDANCE WITH THE PROPOSED SETTLEMENT; (C) COMPELLING
 SCROGGINS & WILLIAMSON, P.C. TO TURN OVER PROPERTY OF THE ESTATE;
 (D) AUTHORIZING THE CHAPTER 7 TRUSTEE FOR THE BANKRUPTCY ESTATE
  OF SUPERIOR HEALTHCARE INVESTORS, INC. TO TURN OVER PROPERTY TO
        TRUSTEE; AND (E) AUTHORIZING TRUSTEE TO MAKE CERTAIN
               DISTRIBUTIONS OF PROPERTY OF THE ESTATE
           IN ACCORDANCE WITH THE PROPOSED SETTLEMENT

            COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee Hays”) for the bankruptcy

estate (the “HP/Superior Bankruptcy Estate”) of HP/Superior, Inc. (“HP/Superior”), by and

through the undersigned counsel, and files this Motion for Order: (A) Authorizing Settlement

Between Trustee, CSE Mortgage, LLC, and the Chapter 7 Trustee for the Bankruptcy Estate of

Superior Healthcare Investors, Inc. under Federal Rules of Bankruptcy Procedure Rule 9019;

(B) Establishing the Extent and Priority of the Security Interest of CSE Mortgage, LLC in

Accordance with the Proposed Settlement; (C) Compelling Scroggins & Williamson, P.C. to

Turn Over Property of the Estate; (D) Authorizing the Chapter 7 Trustee for the Bankruptcy

Estate of Superior Healthcare Investors to Turn Over Property to Trustee; and (E) Authorizing

Trustee to Make Certain Distributions of Property of the Estate in Accordance with the Proposed




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Settlement (the “Settlement Motion”). In support of the Settlement Motion, Trustee Hays

respectfully shows the Court as follows:

                                      Jurisdiction and Venue

            1.    This Court has jurisdiction over this Settlement Motion under 28 U.S.C. §§ 157

and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. The

statutory predicate for the relief sought in this Settlement Motion is Rule 9019 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and 11 U.S.C. § 363.                  This

Settlement Motion is a core proceeding under 28 U.S.C. § 157(b)(2).

                                           Background

            2.    On November 3, 2014 (the “HP/Superior Petition Date”), HP/Superior filed a

voluntary petition for relief under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§

101 et seq. (as amended, modified, or supplemented, the “Bankruptcy Code”) in the United

States       Bankruptcy   Court   for the Northern    District   of Georgia, Atlanta Division

(“Bankruptcy Court”), initiating Chapter 11 Case No. 14-71797-PWB (the “HP/Superior

Bankruptcy Case”).

            3.    Scroggins & Williamson, P.C. (“Scroggins”) represents HP/Superior in the

HP/Superior Bankruptcy Case.

            4.    On January 6, 2015 (the “SHI Petition Date”), Superior Healthcare Investors,

Inc. (“SHI”) filed a voluntary petition for relief under Chapter 11 of the Bankruptcy Code,

initiating Case No. 15-50439-PWB in the Bankruptcy Court (the “SHI Bankruptcy Case”).

            5.    Lamberth, Cifelli, Ellis & Nason, P.A. represents SHI in the SHI Bankruptcy

Case.




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            6.    On February 3, 2015, the Bankruptcy Court entered an order [Doc. No. 59; Case

No. 14-71797-PWB] authorizing the joint administration of the HP/Superior Bankruptcy Case

and the SHI Bankruptcy Case for procedural purposes only pursuant to 11 U.S.C. § 1015(b).

            7.    On October 27, 2015, the Bankruptcy Court entered an order [Doc. No. 141; Case

No. 14-71797-PWB] directing the appointment of Chapter 11 trustees on behalf of HP/Superior

and SHI.

            8.    On October 30, 2015, the Bankruptcy Court entered an order [Doc. No. 146; Case

No. 14-71797-PWB] approving Trustee Hays as Chapter 11 Trustee for HP/Superior, and on the

same day the Bankruptcy Court entered an order [Doc. No. 23; Case No 15-50439-PWB]

appointing Cathy L. Scarver (“Trustee Scarver”) as Chapter 11 Trustee for SHI.

            9.    On November 17, 2015, the Court entered an order [Doc. No. 168; Case No. 14-

71797-PWB] converting the HP/Superior Bankruptcy Case and SHI Bankruptcy Case from cases

under Chapter 11 to cases under Chapter 7 of the Bankruptcy Code effective as of November 4,

2015 and severing their joint administration.

            10.   On November 23, 2015, the United States Trustee appointed Trustee Hays as the

Chapter 7 Trustee in the HP/Superior Bankruptcy Case. [Doc. No. 170; Case No. 14-71797-

PWB]. Trustee Hays held and concluded the Section 341 meeting of creditors on January 12,

2016, and Trustee Hays is now the permanent Chapter 7 Trustee in the HP/Superior Bankruptcy

Case.

            11.   On November 23, 2015, the United States Trustee appointed Trustee Scarver as

the Chapter 7 Trustee in the SHI Bankruptcy Case. [Doc. No. 38; Case No. 15-50439-PWB].

Trustee Scarver held and concluded the Section 341 meeting of creditors on January 5, 2016, and

Trustee Scarver is now the permanent Chapter 7 Trustee in the SHI Bankruptcy Case.




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            12.   Prior to the HP/Superior Petition Date, and for the majority of the time that the

HP/Superior Bankruptcy Case was pending as a Chapter 11 case, HP/Superior operated a long-

term nursing home facility located in the City of Superior, Douglas County Wisconsin on real

property owned by SHI.

            13.   On or about July 1, 2015, HP/Superior and SHI consummated a sale (the “ Sale”)

of substantially all their assets pursuant to an order [Doc. 84; Case No. 14-71797-PWB] of the

Bankruptcy Court.

            14.   Prior to the closing of the sale, Superior WI Realty, LLC (the “Purchaser”) paid

an additional $50,000.00 to HP/Superior to extend the closing date of the sale from June 1, 2015

to July 1, 2015. See [Doc. No. 94; Case No. 14-71797-PWB].

            15.   By order entered July 1, 2015 [Doc. No. 94; Case No. 14-71797-PWB], the

Bankruptcy Court approved the extension of the closing date through July 1, 2015.

            16.   HP/Superior and SHI closed on the Sale with the Purchaser on or about July 1,

2015.

            17.   After payment of various closing costs, including applicable taxes, Scroggins held

$1,565,660.42 in escrow (the “Sale Proceeds”), of which $50,000.00 related to the payment by

the Purchaser of the required amount to extend the closing date (the “$50,000.00 Extension

Funds”). See [Doc. No. 97; Case No. 14-71797-PWB].

            18.   Following an order by the Bankruptcy Court [Doc. No. 100; Case No. 14-71797-

PWB], on or about August 31, 2015, Scroggins transferred $800,000.00 to CSE Mortgage, LLC

(“CSE Mortgage” and collectively with Trustee Hays and Trustee Scarver, the “Parties”) in

partial satisfaction of the CSE SHI Claim (defined below).




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            19.   From the $50,000.00 Extension Funds, Scroggins paid $33,336.89 to Royalton

Manor, LLC for cure costs related to an assumed executory contract, and $16,348.00 to itself in

partial satisfaction of its allowed professional fees and expenses.

            20.   Scroggins currently holds $765,975.53 in its trust account from the Sale Proceeds

(the “Remaining Sales Proceeds”), of which $315.11 is the remaining portion of the $50,000.00

Extension Funds.

            21.   On February 25, 2016, the State of Wisconsin turned over to Trustee Hays

$2,851,208.68 from Medicaid reimbursements that the State of Wisconsin had been withholding

from HP/Superior as a potential offset against unpaid bed tax assessments (the “Medicaid

Funds”). Trustee Hays is currently holding the Medicaid Funds in his bank account for the

HP/Superior Bankruptcy Estate.

            22.   On December 10, 2014, CSE Mortgage filed a proof of claim [Claim No. 5-1;

Case No. 14-71797-PWB] in the HP/Superior Bankruptcy Case for a secured claim in the

amount of $133,065.92 (the “CSE HP/Superior Claim”) and asserted HP/Superior's assets were

pledged pre-petition as additional collateral for the CSE SHI Claim (described below). The basis

for CSE Mortgage’s secured claim is a Revolving Credit and Security Agreement

(the “Credit Agreement”) entered into by HP/Superior and CapitalSource Finance, LLC, as

predecessor in interest to CSE Mortgage.

            23.   CSE Mortgage alleges that the amount of the CSE HP/Superior Claim has

increased to $379,889.50 as of April 22, 2016 (the “CSE HP/Superior Debt”) as a result of the

continuing accrual of post-petition interest, loan fees, expenses, and attorney’s fees as provided

under the terms of the Credit Agreement and allowed under Section 506 of the Bankruptcy Code.

            24.   On March 10, 2015, CSE Mortgage filed a proof of claim [Claim No. 2-1] in the




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SHI Bankruptcy Case, which it amended on June 16, 2016 and asserted a claim with a secured

status in the amount of $5,141,671.00 (the “CSE SHI Claim”).

            25.   Prior to the Petition Date, CapitalSource Finance, LLC, as predecessor in interest

to CSE Mortgage, filed a UCC-1 (the “CSE UCC-1”) to perfect its security interest in personal

property of HP/Superior.

            26.   Prior to the Petition Date, CSE Mortgage held a first-priority security interest in

all real and personal property of SHI, including an assignment of leases and rents due under that

certain lease agreement between SHI and HP/Superior dated as of May 1, 2004

(the “Facility Lease”), for which the assignment was filed on the public records of Douglas

County Wisconsin on May 14, 2004 (the “SHI Assignment of Leases and Rents”).

            27.   On or about March 30, 2007, HP/Superior, SHI, and CSE Mortgage, among other

parties, signed a cross-default agreement (the “Cross-Default Agreement”).

            28.   CSE Mortgage contends that, in addition to the security interest granted through

the Credit Agreement and perfected through the filing of the CSE UCC-1, the Cross-Default

Agreement secures the repayment of the debt represented by the CSE SHI Claim in property of

the HP/Superior Bankruptcy Estate.

            29.   Trustee Hays vigorously contests that the Cross-Default Agreement grants CSE

Mortgage an additional security interest in property of the HP/Superior Bankruptcy Estate and

contends that such document does not render HP/Superior liable for the repayment of the CSE

SHI Claim. The dispute over the extent, validity, and priority of the security interest purportedly

granted by the Cross-Default Agreement, if any, is hereinafter referred to as the “Cross-Default

Issue.”

            30.   Trustee Hays and Trustee Scarver have agreed between themselves and contend




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that the HP/Superior Bankruptcy Estate is entitled to $159,383.60 of the Remaining Sales

Proceeds and that the SHI Bankruptcy Estate is entitled to the remaining $606,591.93. CSE

Mortgage contends that the HP/Superior Bankruptcy Estate is not entitled to any portion of the

Remaining Sales Proceeds. See, e.g., [Doc. No. 97]. The Parties' dispute over the allocation of

the Remaining Sales Proceeds is hereinafter referred to as the “Allocation Issue.”

            31.   Trustee Scarver is holding approximately $1,062.73 from a National Bank of

Commerce account (Account No. xxxx-2463), which funds were generated from the business

operations of HP/Superior (the “H/P Superior Funds”). Trustee Scarver and Trustee Hays

agree that the H/P Superior Funds, less any bank fees, are property of the H/P Superior

Bankruptcy Estate. Trustee Scarver has agreed to turn over the H/P Superior Funds to Trustee

Hays as part of the Settlement Agreement (defined below).

            32.   On October 15, 2015, HP/Superior and SHI filed a complaint against CSE

Mortgage seeking a surcharge under 11 U.S.C. § 506(c) (the “Surcharge Issue”), initiating the

adversary proceeding styled as HP/Superior, Inc., et al. v. CSE Mortgage, LLC (Adv. Proceeding

No. 15-5401-PWB) (the “Adversary Proceeding”).

            33.   On February 1, 2016, CSE Mortgage filed a motion [Doc. No. 185; Case No. 14-

71797-PWB] (the “Replacement Lien Motion”), seeking a replacement lien or, alternatively, an

equitable lien in post-petition accounts receivable of HP/Superior (the “Replacement Lien

Issue” and collectively with the Cross-Default Issue, the Allocation Issue, and the Surcharge

Issue, the “CSE Disputes”).

            34.   On February 25, 2016, the Bankruptcy Court entered an order [Doc. No. 190;

Case No. 14-71797-PWB] (the “SHI Admin Claim Order”) in the HP/Superior Bankruptcy

Case granting the SHI Bankruptcy Estate an allowed Chapter 11 administrative expense claim in




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the     amount         of     $463,979.83     against      the     HP/Superior        Bankruptcy        Estate

(the “SHI Admin Claim”), which, in accordance with the terms of the SHI Admin Claim Order,

is subordinate to all Chapter 7 administrative expenses of the HP/Superior Bankruptcy Estate,

and which is to be paid pro rata with all other allowed Chapter 11 administrative expenses

against the HP/Superior Bankruptcy Estate.

            35.   On April 25, 2016, Trustee Scarver filed a proof of claim in the HP/Superior

Bankruptcy Case as a general unsecured pre-petition claim in the amount of $2,662,000.00 (the

"SHI Proof of Claim"), as more particularly described in Claim 37 on the claims register in the

HP/Superior Bankruptcy Case.

                                        The Proposed Settlement

            36.   The Parties have entered into a Settlement Agreement, subject to Court approval,

resolving the CSE Disputes.           A copy of the Settlement Agreement is attached hereto and

incorporated herein by reference as Exhibit “A” (the “Settlement Agreement”). The material

terms of the Settlement Agreement are outlined below:1

                  a.        Effective upon the Settlement Orders becoming final, the Remaining Sales
                            Proceeds shall be allocated as follows: (1) $707,687.83 shall be allocated
                            to the SHI Bankruptcy Estate (the “SHI Sales Proceeds”); and (2)
                            $58,287.70 shall be allocated to the HP/Superior Bankruptcy Estate (the
                            “HP/Superior Sales Proceeds”).2

                  b.        Effective upon the Settlement Orders both becoming final, the Parties
                            agree that CSE Mortgage shall have a first-priority security interest in and
                            to the HP/Superior Sales Proceeds and the Medicaid Funds in an amount
                            equal to $755,677.20. As part of the HP/Superior Settlement Approval
                            Motion, Trustee Hays will request that the Bankruptcy Court determine, as
                            part of the HP/Superior Settlement Approval Order, that CSE Mortgage

1
         The following is a summary of the Settlement Agreement and is not intended to be comprehensive. To the
extent that anything in this summary is contrary to the terms of the Settlement Agreement, the terms of the
Settlement Agreement shall control.
2
        Capitalized terms not defined in this Settlement Motion shall have the meaning ascribed to them in the
Settlement Agreement.


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                    has a first-priority security interest in and to the HP/Superior Sales
                    Proceeds and the Medicaid Funds in an amount equal to $755,677.20
                    (the “CSE-HP/Superior First Priority Security Interest”).

            c.      Effective upon the Settlement Orders both becoming final, the Parties
                    agree that CSE Mortgage shall have a first priority security interest in and
                    to the SHI Sales Proceeds in an amount equal to $707,687.83. As part of
                    the SHI Settlement Approval Motion, Trustee Scarver will request that the
                    Bankruptcy Court determine, as part of the SHI Settlement Approval
                    Order, that CSE has a first priority security interest in and to the SHI Sales
                    Proceeds in an amount equal to $707,687.83 (the “CSE-SHI First
                    Priority Security Interest”).

            d.      Effective upon the Settlement Orders both becoming final, the
                    HP/Superior Bankruptcy Estate shall have a carve-out from the CSE-
                    HP/Superior First Priority Security Interest in the amount of $187,089.03
                    (the “HP/Superior Estate Carve-Out”). For avoidance of doubt, it is the
                    intent of the Parties that upon the Settlement Orders both becoming final,
                    the HP/Superior Bankruptcy Estate shall have a first priority security
                    interest and lien in the HP/Superior Sales Proceeds and the Medicaid
                    Funds in the amount of $187,089.03, which shall be distributed by Trustee
                    Hays in accordance with 11 U.S.C. § 726.

            e.      Effective upon the Settlement Orders both becoming final, the SHI
                    Bankruptcy Estate shall have a carve-out from the CSE/SHI First Priority
                    Security Interest in the amount of $55,000.00 (the “SHI Estate Carve-
                    Out”). For avoidance of doubt, it is the intent of the Parties that upon the
                    Settlement Orders both becoming final, the SHI Bankruptcy Estate shall
                    have a first priority security interest and lien in the SHI Sales Proceeds in
                    the amount of $55,000.00, which shall be exclusively used first for
                    payment of allowed Chapter 7 administrative expense claims and then for
                    allowed Chapter 11 attorney’s fees for Trustee Scarver’s attorneys and
                    SHI’s attorneys.

            f.      Within five (5) business days of the later of: (a) Trustee Hays’s receipt of
                    the HP/Superior Sales Proceeds in the amount of $58,287.70 from
                    Scroggins; or (b) the Settlement Orders both becoming final, Trustee Hays
                    shall pay $559,889.50 (the “CSE-HP/Superior Claim Payment”) to CSE
                    Mortgage by delivering a check made payable to “CSE Mortgage, LLC”
                    in the amount of $559,889.50 to Kevin A. Stine at the following address:
                    Baker, Donelson, Bearman, Caldwell & Berkowitz, PC, 3414 Peachtree
                    Rd, NE, Suite 1600, Monarch Plaza, Atlanta, GA 30326. Trustee Hays
                    shall request authority from the Bankruptcy Court to make the CSE-
                    HP/Superior Claim Payment in the HP/Superior Settlement Approval
                    Motion.




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               g. Within five (5) business days of the later of: (a) Trustee Scarver’s receipt
                  of the SHI Sales Proceeds in the amount of $707,687.83 from Scroggins;
                  or (b) the Settlement Orders both becoming final, Trustee Scarver shall
                  pay $652,687.83 (the “CSE-SHI Claim Payment”) to CSE Mortgage by
                  delivering a check made payable to “CSE Mortgage, LLC” in the amount
                  of $652,687.83 to Kevin A. Stine at the following address: Baker,
                  Donelson, Bearman, Caldwell & Berkowitz, PC, 3414 Peachtree Rd, NE,
                  Suite 1600, Monarch Plaza, Atlanta, GA 30326. The CSE-SHI Claim
                  Payment shall reduce the CSE-SHI Claim on a dollar for dollar basis.
                  Trustee Scarver shall request authority from the Bankruptcy Court to make
                  the CSE-SHI Claim Payment in the SHI Settlement Approval Motion.

               h. Within five (5) business days of the Settlement Orders both becoming
                  final, Trustee Scarver shall turn over the HP/Superior Funds, less any bank
                  fees, to Trustee Hays by delivering a check made payable to “S. Gregory
                  Hays, Chapter 7 Trustee (HP/Superior, Inc.)” to S. Gregory Hays, Hays
                  Financial Consulting, LLC, 3343 Peachtree Road, NE, Suite 200, Atlanta,
                  GA 30326.

               i. Effective upon the Settlement Orders both becoming final, the automatic
                  stay in the SHI Bankruptcy Case shall be modified for CSE Mortgage to
                  exercise any and all of its rights and remedies under the SHI Assignment
                  of Leases and Rents, more specifically, the Facility Lease, including
                  without limitation, to collect and apply all of the rents receivable due and
                  payable under the SHI Assignment of Leases and Rents, including
                  receiving any and all payments from the HP/Superior Bankruptcy Estate
                  on the SHI Admin Claim and the SHI Proof of Claim. In addition,
                  notwithstanding anything to the contrary in the SHI Admin Claim Order,
                  upon entry of an appropriate order from the Bankruptcy Court authorizing
                  such disbursement, Trustee Hays shall make all payments on account of
                  the SHI Admin Claim and the SHI Proof of Claim, if any, directly to CSE
                  Mortgage by delivering a check made payable to “CSE Mortgage, LLC”
                  to Kevin A. Stine at the following address: Baker, Donelson, Bearman,
                  Caldwell & Berkowitz, PC, 3414 Peachtree Rd, NE, Suite 1600, Monarch
                  Plaza, Atlanta, GA 30326. After application of any payments received on
                  account of the SHI Admin Claim and the SHI Proof of Claim to the
                  balance of the CSE SHI Claim, including any expenses and attorney’s fees
                  incurred by CSE Mortgage and approved by the Bankruptcy Court
                  pursuant to Section 506(b) of the Bankruptcy Code, any remaining
                  proceeds shall be promptly remitted to the Chapter 7 Trustee for
                  distribution in accordance with priorities set by law. Trustee Scarver shall
                  request relief from the automatic stay from the Bankruptcy Court for CSE
                  Mortgage to exercise its rights under the SHI Assignment of Leases and
                  Rents in the SHI Settlement Approval Motion.




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               j. Effective upon CSE Mortgage’s receipt of the CSE-HP/Superior Claim
                  Payment from Trustee Hays, and except for: (a) the SHI Admin Claim; (b)
                  the SHI Proof of Claim; and (c) the rights, duties, and obligations created
                  or preserved under the Settlement Agreement and the HP/Superior
                  Settlement Approval Order, CSE Mortgage releases, acquits, and forever
                  discharges Trustee Hays and the HP/Superior Bankruptcy Estate from any
                  and all Claims (as defined in Section 8 of the Settlement Agreement) of
                  any kind, character, or nature whatsoever, known or unknown fixed or
                  contingent, that CSE Mortgage may have or claim to have against Trustee
                  Hays or the HP/Superior Bankruptcy Estate prior to the Effective Date of
                  the Settlement Agreement. Effective upon CSE Mortgage’s receipt of the
                  CSE-HP/Superior Claim Payment from Trustee Hays, the CSE
                  HP/Superior Claim shall be deemed satisfied and paid in full, except to the
                  extent of the HP-Superior Estate Carve-Out for the benefit of the
                  HP/Superior Bankruptcy Estate as set forth in Section 2.7 of the
                  Settlement Agreement. For avoidance of doubt, this provision is not
                  intended to nor shall it be construed to release, acquit, discharge, or
                  otherwise limit or affect any claim, right, or remedy of CSE to collect or
                  recover the remaining balance of the debt represented by the HP/Superior
                  Claim from any non-debtor parties or property that is not property of
                  HP/Superior's Bankruptcy Estate, as applicable.

               k. Effective upon CSE Mortgage’s receipt of the CSE-SHI Claim Payment
                  from Trustee Scarver, and except for: (a) the unpaid portion of the CSE
                  SHI Claim; and (b) the rights, duties, and obligations created or preserved
                  under the Settlement Agreement and the SHI Settlement Approval Order,
                  CSE Mortgage releases, acquits, and forever discharges Trustee Scarver
                  and the SHI Bankruptcy Estate from any and all Claims (as defined in
                  Section 8 of the Settlement Agreement) of any kind, character, or nature
                  whatsoever, known or unknown fixed or contingent, that CSE Mortgage
                  may have or claim to have against Trustee Scarver or the SHI Bankruptcy
                  Estate prior to the Effective Date of the Settlement Agreement. For
                  avoidance of doubt, this provision is not intended to nor shall it be
                  construed to release, acquit, discharge, or otherwise limit or affect any
                  claim, right, or remedy of CSE to collect or recover the remaining balance
                  of the debt represented by the SHI Claim from any non-debtor parties or
                  property that is not property of SHI's Bankruptcy Estate, as applicable.

               l. Effective upon the Settlement Orders both becoming final, and except for
                  the rights, duties, and obligations created or preserved under the
                  Settlement Agreement and the HP/Superior Settlement Approval Order,
                  Trustee Hays releases, acquits, and forever discharges CSE Mortgage
                  from any and all Claims (as defined in Section 8 of the Settlement
                  Agreement) of any kind, character, or nature whatsoever, known or
                  unknown, fixed or contingent, that Trustee Hays or the HP/Superior
                  Bankruptcy Estate may have or claim to have against CSE Mortgage prior



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                        to the Effective Date of the Settlement Agreement, including but not
                        limited to any Claims arising from or related to 11 U.S.C. § 506(c).

                     m. Effective upon the Settlement Orders both becoming final, and except for
                        the rights, duties, and obligations created or preserved under the
                        Settlement Agreement and the SHI Settlement Approval Order, Trustee
                        Scarver releases, acquits, and forever discharges CSE Mortgage from any
                        and all Claims (as defined in Section 8 of the Settlement Agreement) of
                        any kind, character, or nature whatsoever, known or unknown, fixed or
                        contingent, that Trustee Scarver or the SHI Bankruptcy Estate may have or
                        claim to have against CSE Mortgage prior to the Effective Date of the
                        Settlement Agreement, including but not limited to any Claims arising
                        from or related to 11 U.S.C. § 506(c).

                     n. The Parties shall file a stipulation dismissing the Adversary Proceeding
                        with prejudice within ten (10) business days of the later of: (a) the
                        Settlement Orders both becoming final; (b) Trustee Hays making the CSE-
                        HP/Superior Claim Payment set forth in Section 2.9 of the Settlement
                        Agreement; or (c) Trustee Scarver making the CSE-SHI Claim Payment
                        set forth in Section 2.10 of the Settlement Agreement.

                     o. Within ten (10) business days of Trustee Hays making the CSE-
                        HP/Superior Claim Payment, CSE shall withdraw the Replacement Lien
                        Motion with prejudice.

                                         Relief Requested

            37.   Trustee Hays requests an order from the Bankruptcy Court approving the

Settlement Agreement, making the findings and determinations required under the Settlement

Agreement, and authorizing and directing the disbursements required under the Settlement

Agreement.

            38.   Trustee Hays requests an order from the Bankruptcy Court authorizing and

directing Scroggins to turn over to Trustee Hays $58,287.70 of the HP/Superior Sales Proceeds.

            39.   Trustee Hays requests an order from the Bankruptcy Court finding and

determining that CSE Mortgage has a first-priority security interest in and to the HP/Superior

Sales Proceeds and the Medicaid Funds in an amount equal to $755,677.20 in accordance with




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Section 2.5 of the Settlement Agreement, and approving the HP/Superior Estate Carve-Out and

the SHI Estate Carve-Out.

            40.   Trustee Hays requests an order from the Bankruptcy Court authorizing and

directing Trustee Hays to make the CSE-HP/Superior Claim Payment to CSE Mortgage in

accordance with Section 2.9 of the Settlement Agreement.

            41.   Trustee Hays requests an order from the Bankruptcy Court authorizing and

directing Trustee Scarver to turn over to Trustee Hays the HP/Superior Funds in the approximate

amount of $1,062.73, less any bank fees.

                                            Basis for Relief

            42.   Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice

Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:

            When a bankruptcy court decides whether to approve or disapprove a proposed
            settlement, it must consider:

                  (a) The probability of success in the litigation; (b) the difficulties,
                  if any, to be encountered in the matter of collection; (c) the
                  complexity of the litigation involved, and the expense,
                  inconvenience and delay necessarily attending it; (d) the
                  paramount interest of the creditors and a proper deference to their
                  reasonable views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the




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probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960). 3

            43.   The proposed settlement between Trustee Hays, CSE Mortgage, and Trustee

Scarver is the product of arms-length negotiations and reflects the Parties’ analysis and

consideration of the relevant legal, factual, and economic issues.

            44.   Given the potential time and expense of litigating the CSE Disputes, including the

Allocation Issue, the Surcharge Issue, the Replacement Lien Issue, and the Cross-Default Issue,

and the contingent nature of the same, in the event that the claims that are proposed to be settled

are instead prosecuted, the amount of time that such litigation will require, the delay before the

final outcome is known (including potential appeals), and the complexity and uncertain

resolution of factual and legal disputes, settlement on the terms described in the Settlement

Agreement is a proper exercise of Trustee Hays’s business judgment and in the best interests of

the HP/Superior Bankruptcy Estate. In fact, Trustee Hays estimates that litigating the CSE

Disputes could take years and could cost the HP/Superior Bankruptcy Estate hundreds of

thousands of dollars in additional administrative expense without any certainty of a favorable

outcome. The proposed Settlement Agreement allows the HP/Superior Bankruptcy Estate to

avoid these costs and creates approximately $187,000.00 in free and clear funds that Trustee

Hays will distribute to unsecured creditors, whether priority or non-priority, in accordance with

the priority scheme established by the Bankruptcy Code.                       In addition, the HP/Superior

Bankruptcy Estate will still hold an additional $2.1 million, a portion of which may be available

for distribution to unsecured creditors (depending on additional litigation or settlement related to


3
        In Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc), the Eleventh Circuit Court
of Appeals adopted as binding precedent the decisions of the former Fifth Circuit issued before October 1, 1981.


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the extent, validity, and priority of other asserted secured claims), whether priority or non-

priority.         In summary, the proposed Settlement represents an advantageous result for the

HP/Superior Bankruptcy Estate and clearly falls within the range of reasonableness required

under Justice Oaks.

            45.      Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee requests that the Bankruptcy Court approve the Settlement

Agreement.

            WHEREFORE, Trustee respectfully requests that the Bankruptcy Court enter an Order:

       i.            granting this Settlement Motion;

      ii.             authorizing Trustee to take actions reasonably necessary to effectuate the terms

                     of the Settlement Agreement;

     iii.            authorizing and directing Scroggins to turn over to Trustee Hays the $58,287.70

                     of the HP/Superior Sales Proceeds;

     iv.             finding and determining that CSE Mortgage has a first-priority security interest in

                     and to the HP/Superior Sales Proceeds and the Medicaid Funds in an amount

                     equal to $755,677.20, and approving the HP/Superior Estate Carve-Out and the

                     SHI Estate Carve-Out, in accordance with Sections 2.5 and 2.7 of the Settlement

                     Agreement;

      v.             authorizing and directing Trustee Hays to make the CSE-HP/Superior Claim

                     Payment to CSE Mortgage in accordance with Section 2.9 of the Settlement

                     Agreement;




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     vi.           authorizing and directing Trustee Scarver to turn over to Trustee Hays the

                   HP/Superior Funds in the approximate amount of $1,062.73, less any bank fees;

                   and

     vii.          granting to the Parties such other and further relief as the Court deems just and

                   appropriate.

            Respectfully submitted, this 17th day of June, 2016.

                                                        ARNALL GOLDEN GREGORY LLP
                                                        Attorneys for Trustee

                                                        By:/s/ Michael J. Bargar
                                                              Sean C. Kulka
                                                              Georgia Bar No. 648919
                                                              sean.kulka@agg.com
171 17th Street, NW, Suite 2100                               Michael J. Bargar
Atlanta, GA 30363                                             Georgia Bar No. 645709
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                            EXHIBIT “A” FOLLOWS




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                                CERTIFICATE OF SERVICE

        This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order: (A) Authorizing Settlement
Between Trustee, CSE Mortgage, LLC, and the Chapter 7 Trustee for the Bankruptcy Estate of
Superior Healthcare Investors, Inc. under Federal Rules of Bankruptcy Procedure Rule 9019;
(B) Establishing the Extent and Priority of the Security Interest of CSE Mortgage, LLC in
Accordance with the Proposed Settlement; (C) Compelling Scroggins & Williamson, P.C. to
Turn Over Property of the Estate; (D) Authorizing the Chapter 7 Trustee for the Bankruptcy
Estate of Superior Healthcare Investors to Turn Over Property to Trustee; and (E) Authorizing
Trustee to Make Certain Distributions of Property of the Estate in Accordance with the Proposed
Settlement by first class United States mail on the following persons or entities at the addresses
stated:

David S. Weidenbaum                                  HP/Superior, Inc.
Office of the United States Trustee                  5174 McGinnis Ferry Road
362 Richard B. Russell Federal Building              Suite 195
75 Ted Turner Drive, SW                              Alpharetta, GA 30005
Atlanta, GA 30303
                                                     Kevin A. Stine
S. Gregory Hays                                      Baker Donelson Bearman
Hays Financial Consulting, LLC                       Monarch Plaza, Suite 1600
3343 Peachtree Road, NE, Suite 200                   3414 Peachtree Road, NE
Atlanta, GA 30326                                    Atlanta, GA 30326

Cathy L. Scarver                                     Internal Revenue Service
P. O. Box 672587                                     Insolvency Unit
Marietta, GA 30006                                   401 West Peachtree Street
                                                     Stop 335-D
Ashley Reynolds Ray                                  Atlanta, GA 30308
Scroggins & Williamson
1500 Candler Building                                Department of Justice - Tax Division
127 Peachtree Street, NE                             Attn: Chief, Civil Trial Section
Atlanta, GA 30303                                    Southern Region
                                                     P.O. Box 14198
G. Frank Nason, IV                                   Ben Franklin Station
Lamberth, Cifelli, Ellis & Nason, P.A.               Washington, D.C. 20044
1117 Perimeter Center West
Suite W 212                                          United States Attorney General
Atlanta, GA 30338                                    Main Justice Building
                                                     10th and Constitution Avenue, NW
                                                     Washington, D.C. 20530




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U.S. Attorney                                    Hiram Cutting
Northern District of Georgia                     Wisconsin Department of Revenue
Civil Division, Attn: Civil Clerk                Special Procedures Unit
600 Richard B. Russell Building                  PO Box 8901
75 Spring Street, S.W.                           Madison, WI 53708-8901
Atlanta, GA 30303
                                                 The Stark Collection Agency Inc.
Lisa Johnson                                     PO Box 45710
Bankruptcy Specialist                            Madison, WI 53744-5710
Internal Revenue Service
401 W Peachtree ST, NW                           State of Wisconsin, DWD – UI
M/S 334-D                                        PO Box 8914
Atlanta, GA 30308                                Madison, WI 53708

F. Mark Bromley                                  Ariane Daniels
Wisconsin Dept. of Justice                       State of Wisconsin, DWD – UI
17 West Main Street                              PO Box 8914
P. O. Box 7857                                   Madison, WI 53708
Madison, WI 53707-7857
                                                 Badger Acquisition of Minnesota
Wisconsin Department of Revenue                  d/b/a Omnicare of Minnesota
Special Procedures Unit                          900 Omnicare Center
PO Box 8901                                      201 East Fourth Street
Madison, WI 53708-8901                           Cincinnati, OH 45202

                                                 JoAnn Billman
                                                 Omnicare, Inc.
                                                 900 Omnicare Center
                                                 201 East Fourth Street
                                                 Cincinnati, OH 45202



            This 17th day of June, 2016

                                                        /s/ Michael J. Bargar
                                                        Michael J. Bargar
                                                        Georgia Bar No. 645709




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